                            UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA


 In Re:                                             )
                                                    )              Case No. 18-03534
 Maria Gongora,                                     )
                                                    )
                                 Debtor(s).         )

ORDER AUTHORIZING EMPLOYMENT OF BK GLOBAL REAL ESTATE SERVICES NUNC PRO
              TUNC TO APRIL 09, 2019 PURSUANT TO 11 U.S.C. § 327


          THIS MATTER came before the court, pursuant to the Trustee’s Application to Employ BK Global

Real Estate Services pursuant to 11 U.S.C. § 327 . The Court, having reviewed the Application to Retain

BK Global Real Estate Services, showing that BK Global holds no interest adverse to the estate and is a

disinterested party as required by 11 U.S.C. §327(a), and having determined that the employment of a real

estate broker and agent is necessary and in the best interest of the estate, does hereby

          ORDER AND DECREE that:

          1. The Trustee is authorized to employ BK Global Real Estate Services, as a real estate broker

             and agent of the estate for the purpose of marketing and selling the real property located at:

             110 RIVERFRONT TER POCONO LAKE, PA 18347;

          2. The employment is effective as of application; and

          3. Compensation to BK Global Real Estate Services shall be paid and expenses reimbursed as

             awarded by the Court upon proper application or in conjunction with an Order entered by the

             Court approving the sale of the real property at issue.

* Execution of this Order approving employment is not a guarantee that payment will ultimately
be approved in any amount from the estate. Such compensation is dependent on the
consideration of a final application for fees. In re Engel, 124 F.3d 567 (3rd Cir. 1997).



    Dated: May 16, 2019                                 By the Court,



Case 5:18-bk-03534-RNO                           Robert N. Opel,
                                   Doc 30 Filed 05/16/19         II, Chief
                                                            Entered        Bankruptcy
                                                                      05/16/19        JudgeDesc
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